     Case2:13-cr-00174-JCM-GWF
     Case 2:13-cr-00018-RTB Document
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                                                                    of 22



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 5
     Attorney for Defendant LEON BENZER
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 7
 8                              UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                   )   2:13-cr-0174-JAD-CWH
11                                               )
                   Plaintiff,                    )
12                                               )
     v.                                          )   STIPULATION TO CONSOLIDATE
13                                               )   AND TRANSFER THIS CASE WITH
     LEON BENZER,                                )   CASE NUMBER 2:13-cr-18-JCM-GWF
14                                               )   TO JUDGE MAHAN
                   Defendant.                    )
15                                               )
16          IT IS HEREBY STIPULATED AND AGREED, by and between William Stellmach,
17   Acting Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and Charles La Bella,
18   Deputy Chief, counsel for the United States of America, and Daniel J. Albregts, Esq., counsel for
19   defendant LEON BENZER, that this case be consolidated with United States v. Leon Benzer, case
20   number 2:13-cr-0018-JCM-GWF and that it be transferred to Judge Mahan. The parties have
21   confirmed that Judge Mahan will accept the tax case.
22          DATED this 21st day of January, 2015.
23   JEFFREY KNOX                                        DANIEL J. ALBREGTS, LTD.
     Chief, U.S. Department of Justice
24   Fraud Section, Criminal Division
25
     /s/ Charles La Bella                                /s/ Daniel J. Albregts
26   CHARLES LA BELLA                                    DANIEL J. ALBREGTS, ESQ.
     Deputy Chief, U.S. Dept. Of Justice                 Counsel for Defendant BENZER
27   Criminal Division, Fraud Section
28
     Case2:13-cr-00174-JCM-GWF
     Case 2:13-cr-00018-RTB Document
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                                   UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                   ) 2:13-cr-0174-JAD-CWH
                                                 )
 8                 Plaintiff,                    )
                                                 )
 9   v.                                          )
                                                 )
10   LEON BENZER,                                )
                                                 )
11                 Defendant.                    )
                                                 )
12
                                   ORDER CONSOLIDATING CASES
13                              AND TRANSFERRING TO JUDGE MAHAN

14          Based upon the attached Stipulation of the parties, and good cause appearing,

15          IT IS THEREFORE ORDERED that the above case captioned United States v. Leon

16   Benzer, Case number 2:13-cr-0174-JAD-CWH be consolidated with United States v. Leon Benzer,

17   case number 2:13-cr-18-JCM-GWF and transferred to Judge Mahan.

18        Dated: January   22,day
                                2015.
           DATED   this ____      of January, 2015.
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